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                                           June 24th, 2020

 The Honorable Shelley C. Chapman
 United States Bankruptcy Judge Bankruptcy Court for the Southern District of New York
 One Bowling Green
 New York, NY 10004-1408

    Correspondence Re: Lehman Brothers Holding, Inc. , Docket No. 08-13555-SCC (Bankr.
  S.D.N.Y.) Modified Third Amended Joint Chapter 11 Plan of Lehman Brothers Holdings Inc.
                  and Its Affiliated Debtors” [Docket#23023-1] (the “Plan”)



 Dear Honorable Judge Chapman:



 I am respectfully writing to inform you that the “Plan” is not being enforced in its entirety. The

 “Plan” was created for this bankruptcy and acts as a roadmap and provides binding instructions

 and resolutions on how to proceed with the above-named bankruptcy. If the “Plan” is violated,

 then the above-named bankruptcy should be reviewed to make sure that it is still in conformance

 with the Bankruptcy code, Contractual and Common law. If a willful violation has occurred, a

 criminal investigation should be conducted.

 “The Important Covenants of Lehman Brothers Holdings”, the “Covenant”, states that LBHI or

 any of its subsidiaries are not permitted to “declare or pay any dividends or distributions on, or

 redeem, purchase, acquire or make a liquidation payment with respect to, any of Lehman

 Brothers Holding’s capital stock” or make any payments of principal, interest or premium, or

 redeem any debt securities of Lehman Brothers Holdings that rank on a parity with or in junior in


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 interest to the junior subordinated debt securities or make any guarantee payments with respect

 to any guarantee by Lehman Brothers Holdings of the debt securities of any subsidiary of

 Lehman Brothers Holdings if such guarantee ranks on a parity with or junior in interest to such

 junior subordinated debt securities……..” LBHI’s Capital Trust shares are also in parity with the

 most senior preference shares of LBHI and/or any of its affiliates. This means that in order for

 the “Plan” to be in conformity with the bankruptcy, any transaction that involves LBHI or its

 subsidiaries must conform with the Covenant and all the provision within the Guarantee. The

 LBHI Capital Trust shares are in parity with the most senior preference shares of LBHI or any of

 its affiliates. The LBHI Capital Trust shares are not subordinated to the senior preference

 shares of LBHI or any of LBHI’s affiliates. They are only subordinated to the debts of LBHI

 and not equity. A complete copy of the Prospectus which states the terms of the Important

 Covenants to Lehman Brothers Holdings and the Guarantee can be found on docket #60542. A

 Description of the Guarantee is below:




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 LBHI executed transaction in the past that violated the Important Covenants of Lehman Brothers

 Holdings and the Guarantee, therefore violating the “Plan”. LBHI and the Plan Administrator

 needs to stop executing transactions going forward that violates the Covenants and the

 Guarantees.

 I communicated to the Debtor and the Plan Administrator regarding the Covenants though

 previous communications that were forwarded to the honorable court. They are also aware of the

 full provisions of the Guarantee and violations of the “Plan” through docketed motions.

 All transactions since the inception of the “Plan” that involved the issuance, redemption or

 repurchases of securities that violated the Important Covenant of Lehman Brothers Holdings and

 the Guarantee are in violation of the “Plan”. The Covenants is part of a guarantee that states the

 guarantee holders are in parity and the most senior preference stock of LBHI and/or any of its

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 affiliates. This too must be honored during the bankruptcy proceedings and was violated. The

 violations stem from the beginnings of the bankruptcy from the Neuberger Berman and LBMB

 transactions where both redeemed their preference shares during the bankruptcy to LBHI2 and

 the ECAPS settlement. All the transactions above should be reviewed by the court to see if the

 “Plan” was violated by the Plan Administrator and the Debtor by not honoring the “Covenant”

 and all the provisions of the Guarantee it falls under. The Guarantees and the Covenants each

 have enforceable rights under the “Plan” which are being negligently cast aside.

 The honorable court should enforce all aspects of the “Plan”. The Plan Administrator is

 obligated to work within the framework of the “Plan” and is obligated to correct all violations of

 the Plan, the Guarantees and the Covenants. Especially, potential violations on transactions the

 Plan Administrator carried out. If a violation is revealed and cast aside, I respectfully request the

 honorable court to review what is presented and make sure the “PLAN” is not in jeopardy. I

 respectfully ask the court to enforce the “PLAN” and to make sure the rights stated on the

 Important Covenants of Lehman Brothers Holdings and the Guarantee are not violated and

 upheld at all times.



 Thank you,



 Respectfully Submitted,

 /s/ Rex Wu___________

 Rex Wu




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